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 14

 15                        UNITED STATES DISTRICT COURT
 16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
        Edwardo Munoz, individually and on
 18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 19
                                 Plaintiff,      PLAINTIFF’S STATEMENT OF
 20                                              UNCONTROVERTED FACTS
          v.                                     AND CONCLUSIONS OF LAW
 21                                              IN SUPPORT OF MOTION FOR
 22                                              SUMMARY JUDGMENT
        7-Eleven, Inc., a Texas corporation
 23
                                Defendant.       Date: May 20, 2019
 24                                              Time: 9:00 a.m.
                                                 Judge: Hon. R. Gary Klausner
 25
                                                 Place: Courtroom 850
 26                                              Complaint Filed: May 9, 2018
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  1         Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) hereby submits this
  2   Statement of Uncontroverted Facts and Conclusions of Law in support of his
  3   Motion for Summary Judgment. The following facts material to Plaintiff’s claims
  4   are uncontroverted:
  5            Uncontroverted Facts                     Evidentiary Support
  6   1. Edwardo Munoz applied for a job at     See Woodrow Decl., Ex. B, at 66:1–11;
  7   a 7-Eleven store in Los Angeles,          Ex. C, at 135:21–136:11.
  8   California in January of 2018.
  9   2. Munoz was hired on or around           See Woodrow Decl., Ex. B, at 66:1–5,
 10   January 28, 2018.                         110:10–111:7; Ex. C, at 66:3–67:4.
 11   3. As part of the hiring process, 7-      See Woodrow Decl., Ex. A; Ex. B, at
 12   Eleven provided Munoz with a form         52:17–20, 53:8–21; Ex. C, at 48:12–24.
 13   that contained a disclosure that 7-
 14   Eleven would obtain a report or reports
 15   regarding Munoz and an authorization
 16   of 7-Eleven to obtain such reports.
 17   4. The disclosure form describes the      See Woodrow Decl., Ex. A.
 18   information that would be included in
 19   the “report,” such as credit history,
 20   criminal history, and information
 21   obtained through personal interviews
 22   with employers, friends, family
 23   members, or associates.
 24   5. The disclosure includes contact        See Woodrow Decl., Ex. A.
 25   information for 7-Eleven’s credit
 26   reporting agency, Sterling Talent
 27   Solutions, Inc.
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  1   6. The disclosure also includes a            See Woodrow Decl., Ex. A.
  2   statement that “[s]tate statutory
  3   provisions may also provide additional
  4   protections for consumer reports.”
  5   7. The form itself was submitted to the      See Woodrow Decl., Ex. B, at 52:17–
  6   Court with Plaintiff’s Complaint and         20, 53:8–21; see also Compl., Ex. A,
  7   has not been disputed by 7-Eleven.           ECF 1-1.
  8   8. Munoz signed the form, and 7-             See Woodrow Decl., Ex. B, at 104:17–
  9   Eleven subsequently procured a               19, 104:25–105:6, 105:18–24.
 10   consumer report on Munoz.
 11   9. Munoz was fired on or around              See Woodrow Decl., Ex. C, at 143:12–
 12   February 21, 2018, based on                  17, 172:1–13.
 13   information contained in the consumer
 14   report procured by 7-Eleven.
 15   10. The same FCRA notice that was            See Woodrow Decl., Ex. B, at 53:8–21,
 16   provided to Plaintiff Munoz was also         152:19–153:22.
 17   provided to approximately 57,000 other
 18   Class Members.
 19   11. 7-Eleven has not disclosed the           See Minute Order Re Further Order on
 20   number or identities of those who            Telephonic Discovery Conference, ECF
 21   reside in California, despite 7-Eleven’s     56.
 22   sole control over such information.
 23   12. Plaintiff’s counsel deposed Kristen      See Woodrow Decl., Ex. B, at 1.
 24   Cope on January 30, 2019, as 7-
 25   Eleven’s corporate designee pursuant to
 26   FRCP 30(b)(6).
 27
           PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
 28                                              -2-
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  1   13. On behalf of 7-Eleven, Ms. Cope           See Woodrow Decl., Ex. B, at 82:9–24,
  2   testified that the disclosure form at         88:7–19; 89:2–22.
  3   issue described consumer reports,
  4   background reports, and investigative
  5   reports all at once.
  6   14. Ms. Cope testified that, while            See Woodrow Decl., Ex. B, at 83:19–
  7   consumer reports relate to credit             23, 87:17–88:6.
  8   checks, criminal history is part of a
  9   separate background check.
 10

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 12   Dated: April 17, 2019                   By:     /s/ Steven L. Woodrow
 13                                                     One of Plaintiff’s Attorneys

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           PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on April 17, 2019.
  5                                         /s/ Steven L. Woodrow
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           PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
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